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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR18-217-RSM
09         Plaintiff,                     )
                                          )
10         v.                             )            DETENTION ORDER
                                          )
11   BRADLEY WOOLARD,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances; Possession of Furanyl

15 Fentanyl with Intent to Distribute (2 counts); Felon in Possession of Firearms; Possession of

16 Firearms in Furtherance of a Drug Trafficking Offense; Asset Forfeiture Allegations

17 Date of Detention Hearing:     October 16, 2018.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22	 / / /



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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          1.     Defendant has been charged with a drug offense, the maximum penalty of which

03 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

04 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

05          2.     The AUSA proffers evidence in support of the allegation that over thirty

06 firearms, hundreds of thousands of rounds of ammunition, homemade silencers, approximately

07 one million dollars, and more than 10,000 fentanyl pills were found during a search of

08 defendant’s residence, hidden in the attic, secret rooms, the walls, ceilings and appliances. The

09 government believes that a large quantity of cash has not yet been found. The government

10 alleges that defendant fled to Mexico upon learning of the search. The defendant disputes this,

11 claiming that he was attending a drug rehabilitation center. The government proffers evidence

12 to argue that defendant that defendant has been involved in distributing marijuana for over 20

13 years, and was involved in extensive trafficking in fentanyl.        He has a criminal record,

14 including failures to appear with warrant activity. He asks to be released to the residence he

15 shares with his wife, but the government argues that defendant’s wife was also involved in

16 assisting defendant in drug trafficking, and that defendant and his wife had extensive drug use.

17 Defendant faces a 15 year mandatory minimum sentence if convicted of the pending charges.

18          3.     Taken as a whole, the record does not effectively rebut the presumption that no

19 condition or combination of conditions will reasonably assure the appearance of the defendant

20 as required and the safety of the community.

21 It is therefore ORDERED:

22	     1. Defendant shall be detained pending trial and committed to the custody of the Attorney



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01         General for confinement in a correction facility separate, to the extent practicable, from

02         persons awaiting or serving sentences or being held in custody pending appeal;

03      2. Defendant shall be afforded reasonable opportunity for private consultation with

04         counsel;

05      3. On order of the United States or on request of an attorney for the Government, the person

06         in charge of the corrections facility in which defendant is confined shall deliver the

07         defendant to a United States Marshal for the purpose of an appearance in connection

08         with a court proceeding; and

09      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

10         for the defendant, to the United States Marshal, and to the United State Pretrial Services

11         Officer.

12         DATED this 16th day of October, 2018.

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14                                                       A
                                                         Mary Alice Theiler
15                                                       United States Magistrate Judge

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